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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

    THE NEW GEORGIA PROJECT,               )
    et al.,                                )
                                           )
           Plaintiffs,                     )       Civil Action File No.
                                           )
    v.                                     )       1:20-cv-01986-ELR
                                           )
    BRAD RAFFENSPERGER, in his             )
    official capacity as the Georgia       )
    Secretary of State and the Chair of    )
    the Georgia State Election Board,      )
    et al.,                                )
                                           )
           Defendants.                     )

         STATE DEFENDANTS’ REPLY BRIEF IN SUPPORT OF THEIR
          MOTION TO DISMISS PLAINTIFFS’ AMENDED COMPLAINT

          The State Defendants file this reply brief in support of their Motion to

Dismiss Plaintiffs’ Amended Complaint (the “Motion”), [Doc. 83], further

showing the Court as follows. 1

I. Standing.

          A.    The Individual Plaintiffs

          Plaintiffs agree that this is not a case where someone will not be able to

vote absent the wholesale rewriting of Georgia law they seek. [Doc. 96 at 15-


1The State Defendants adopt the abbreviations from their Brief in Support of
the Motion to Dismiss. [Doc. 83-1.]
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16.] To the contrary, Plaintiffs concede that the Individual Plaintiffs “allege

that they will [each] vote absentee in Georgia this year.” [Id. at 4.] Thus,

they have no injury, because no Individual Plaintiff has alleged a “likelihood

that [she] will be affected by the allegedly unlawful conduct in the future.”

Houston v. Marod Supermarkets, Inc., 733 F.3d 1323, 1328–29 (11th Cir.

2013). Nor has any Individual Plaintiff alleged an injury that is “concrete,

particularized and actual or imminent,” Clapper v. Amnesty Int’l USA, 568

U.S. 398, 409 (2013), or an injury that is not common to all members of the

public. Gardner v. Mutz, 962 F.3d 1329, 1342 (11th Cir. 2020).

      Instead, the Individual Plaintiffs, who have raised generalized

grievances, impermissibly attempt to use this lawsuit “simply as a vehicle for

the vindication of value interests” that are different from those of state

policymakers. Id. No Individual Plaintiff even claims that, or states how,

they will be negatively impacted by the Absentee Applicant Notification

Process in requesting an absentee ballot (Pyne and Woodall only); currently

lack stamps or the ability to purchase them; or will be penalized by the

Absentee Ballot Security Statute. At the very least, Plaintiffs are limited to

facial challenges to statutes, which fail if those statutes can be applied in a




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constitutional manner. 2 Wash. State Grange v. Wash. State GOP, 552 U.S.

442, 455 (2008).

      B.    The Organizational Plaintiff

      Plaintiff NGP has also failed to sufficiently allege either associational

standing or organizational standing. Doc. No. [33, ¶¶ 17-19.] NGP must

have “members” for associational standing. See Hunt v. Wash. State Apple

Advert. Comm’n, 432 U.S. 333, 344 (1977) (requiring “indicia of

membership”). Indicia of membership includes members who “elect

leadership, serve as the organization’s leadership, and finance the

organization’s activities, including the case’s litigation costs.” Tex. Indigen.

Council v. Simpkins, No. 5:11-cv-315, 2014 WL 252024, at *3 (W.D. Tex. Jan.

22, 2014). NGP has not alleged facts showing they have such members.

      NGP claims it has “constituents,” Doc. No. [33], ¶¶ 17-19, but there are

no allegations that its “constituents” have any role in NGP’s organizational

efforts. NGP’s constituents are voters who are generally “African American,

lower income, and also at high risk for COVID-19 complications.” [Id., ¶ 19.]

NGP’s constituents—voters who are served by NGP—do not qualify as




2Plaintiffs cite Obama for America v. Husted, 697 F.3d 423, 431 (6th Cir.
2012), but the opinion does not address standing.


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members for associational standing. See NE Ohio Coal. for Homeless v.

Blackwell, 467 F.3d 999, 1010 n.4 (6th Cir. 2006) (“[The plaintiff] seeks to

assert a form of representational standing never recognized by any court—

standing on behalf of the group served by the organization.”).

      NGP also fails to establish organizational standing. Plaintiffs concede

a diversion theory requires allegations that NGP is impaired in its “ability to

engage in its own projects.” [Doc. 96 at 18 (citing Arcia v. Fla Sec’y of State,

772 F.3d 1335, 1341 (11th Cir. 2014)).] NGP does not dispute that its only

impairment will be continuing fulfilling its mission of educating voters on the

decades-old law they challenge. [Id. at 18-20.] NGP still has not identified

“what activities [NGP] would divert resources away from.” Jacobson v. Fla.

Sec’y of State, 957 F.3d 1193 (11th Cir. 2020). Instead, NGP attempts to

escape the impact of Jacobson by insisting that committing resources is the

same as diverting them. [Doc. 96 at 18-19.] This argument misses the more

fundamental point of Jacobson, which cited examples of organizations

shifting resources away from core missions. 957 F.3d at 1206. NGP has

alleged nothing of the sort. This cannot establish standing in this circuit,

particularly after Gardner and Jacobson.

II.   Plaintiffs’ Anderson-Burdick Claims Generally.

      Relying almost exclusively on Duke v. Cleland, 5 F.3d 1399, 1402 (11th

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Cir. 1993), Plaintiffs dedicate significant text to the idea that a motion to

dismiss is improper when applying the Anderson-Burdick analysis. See Doc.

No. [96 at 25-26 (citing Duke, 5 F.3d at 1402.] This idea is easily dismissed

by reviewing the full history of the Duke litigation. Three years after the

initial decision, and when applying the Anderson-Burdick analysis, the

Eleventh Circuit granted a motion to dismiss Duke’s complaint. Duke v.

Massey, 87 F.3d 1226, 1235 (11th Cir. 1996). Plaintiffs’ argument that they

are somehow immune from a motion to dismiss or that this Court “cannot

dismiss Plaintiffs’ Anderson-Burdick claims . . . without considering an

evidentiary record” simply is wrong. Doc. No. [96 at 26.]

III.   The Absentee Applicant Notification Statute.

       Plaintiffs complain that the Absentee Applicant Notification Statute is

unconstitutional because it requires “prompt[]” notification to an absentee

applicant of an absentee-ballot application problem, but it would be

constitutional if it required notice within three business days. [Doc. 33 ¶¶ 6,

35-45, 156, 162-66; 96 at 30 n.11.] This ignores State Election Board (“SEB”)

Rule 183-1-14-.11, which imposes the exact relief Plaintiffs seek.

       Before Plaintiffs commenced this action, the SEB amended a rule

addressing absentee-ballot applications, which provides in full:




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              The board or clerk shall make such determination and mail
              or issue official absentee ballots; provisional absentee
              ballots, if appropriate, or notices of rejection of absentee
              ballot applications to such additional applicants within 3
              business days after receiving the absentee ballot applications.

Ga. Comp. R. & Regs. 183-1-14-.11 (emphasis added). 3 Georgia law thus is as

Plaintiffs say it should be. The Court therefore should dismiss Counts I (to

the extent it pertains to the Absentee Applicant Notification Statute), IV, and

V as moot. 4 Nat’l Advertising Co. v. City of Miami, 402 F.3d 1329, 1332 (11th

Cir. 2005).

      Even if this Court does not rule on mootness grounds, this SEB Rule is

fatal to Plaintiffs’ Anderson-Burdick (Count I) and procedural due process

(Count IV) claims. See Ga. Comp. R. & Regs. 183-1-14-.11. Any burden

imposed by a three-day notice period is, at most, de minimis. And, Plaintiffs

have shown no binding precedent establishing a constitutional right to vote

absentee. McDonald v. Bd. of Election Comm’rs of Chicago, 394 U.S. 802, 807

(1969). On procedural due process, Plaintiffs have not shown, and cannot




3 Plaintiffs wrongly allege that the rule applies only for notices of rejection for
signature mismatch. [Doc. 103 n.6.]
4Mootness is a threshold jurisdictional issue that must be addressed at the
outset of a case; it cannot be waived and is always timely. Fla. Ass’n of
Rehabilitation Facilities, Inc. v. State of Fla. Dep’t of Health & Rehabilitation
Servs., 225 F.3d 1208, 1227 n.14 (11th Cir. 2000) (citation omitted).


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show, that “no set of circumstances exist in which the [law] would be valid.”

J.R. v. Hansen, 803 F.3d 1315, 1329 (11th Cir. 2015). In fact, Plaintiffs

themselves suggest that a law providing such notice would suffice. Doc. No.

[96, p. 30 n.11.] Because of the facial nature of Plaintiffs’ claim, Count IV

must be dismissed.

      Plaintiffs’ Equal Protection claim (Count V) fares no better. Plaintiffs

rely on authority from other circuits that blend an Equal Protection claim

and one arising under an Anderson-Burdick analysis. But, they cannot

overcome recent, binding authority reaffirming that “[a] successful equal

protection claim under the Fourteenth Amendment requires proof of both an

intent to discriminate and actual discriminatory effect.” Greater

Birmingham Ministries, et al. v. Sec’y of State for the State of Ala., No. 18-

10151, at *39 (11th Cir. July 21, 2020). State Defendants raised the need to

allege intentional conduct in their Motion, and Plaintiffs did not disagree;

they simply ignored the requirement altogether. [Doc. 83-1 at 13.] Thus, in

addition to the fact that the Eleventh Circuit applies a rational basis test in

Equal Protection challenges to facially neutral election laws, Plaintiffs have

made no allegations of intentional discrimination supporting their Equal

Protection claim. Both facts are fatal to Count V.

IV.   Election Day Receipt Deadline.

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      Plaintiffs’ challenges to the Election Day Receipt Deadline for absentee

ballots—under Anderson-Burdick (Count I) and Due Process (Count IV)—

should be dismissed. [Doc. 33 ¶¶ 135-136, 151-161.] Regarding the burden

on voters (Count I), Plaintiffs continue to make conclusory statements

regarding the purported burden imposed by the challenged law on voters

themselves. [Doc. 96 at 32.] Plaintiffs presume a burden exists because

ballots arriving after election day are rejected, [id.], but any deadline to

return absentee ballots would leave some ballots rejected as untimely.

Plaintiffs also make no attempt to distinguish between untimely and

ineligible ballots and those that are just untimely. And, Plaintiffs reference

“other burdens” such as information costs of discerning the deadline and

information about candidates up to Election Day, but those purported

burdens exist whenever someone chooses to vote absentee. [Doc. 96 at 33.]

      In Count IV, Plaintiffs assert a facial procedural due process challenge

to the Election Day Receipt Deadline. When deciding a facial challenge to the

constitutional adequacy of process, courts “look[] to the statute as written,”

not a party’s description of how it might operate. J.R. v. Hansen, 736 F.3d

959, 966 (11th Cir. 2013). In so doing, courts consider a number of factors “to

determine what process is due,” including: the private interest affected; the

risk of erroneous deprivation . . .; the probative value of additional or

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substitute procedural safeguards; and the Government’s interest, including

fiscal and administrative burdens of additional process.” Id., 736 F.3d at 966

(quoting Mathews v. Eldridge, 424 U.S. 319, 335 (1976)). These factors each

weigh in the Secretary’s favor. See Doc. No. [83-1, pp.22-24.]

      As shown above, while voting is a critical private interest, there is no

constitutional right to vote by absentee ballot. McDonald, 394 U.S. at 807-08;

Griffin v. Roupas, 385 F.3d 1128, 1130-31 (7th Cir. 2004).

      Fatal to both the Counts I and IV claims, however, is that Plaintiffs’

purported burdens do not outweigh Georgia’s weighty and undisputed

interests in timely election results and confidence in the electoral process.

See [Doc. 83-1 at 23-26]. Plaintiffs do not even attempt to address these

interests. A receipt deadline ensures finality sooner; allows the timely and

lawful administration of elections (including runoff elections) 5; and reduces

post-election voter fraud opportunities. The Court therefore should dismiss

the challenges to the Election Day Receipt Deadline in Counts I and IV.

V.    Single Absentee Ballot Application.




5This includes the ability to finalize election results in time to have runoff
absentee ballots printed and mailed to uniformed and overseas citizens in
compliance with federal law.


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      Plaintiffs attack the fact that only some voters can submit one request

for all absentee ballots in an election cycle under Anderson-Burdick (Count I)

and the Twenty-Sixth Amendment (Count II). [Doc. 33, ¶¶ 127-130, 132, 139-

146.] As Plaintiffs recognize, the only court to decide this precise issue is the

Fifth Circuit in Texas Democratic Party v. Abbott, 961 F.3d 389 (5th Cir.

2020). While not binding authority, Abbott’s reasoning is compelling and far

more apt than Plaintiffs’ authority, which Plaintiffs concede address voter

registration drives, petitions, and the like. [See Doc. 83-1 at 16 n.10.]. See

also Abbott, 2020 WL 2982937 at *14 (deciding a more restrictive law was

constitutional because “qualified voters [could] still exercise the franchise”).

      Plaintiffs’ Twenty-Sixth Amendment claim (Count II) completely

ignores the actual text of the amendment, which, as recognized in Abbott,

prohibits abridging the right to vote, not differing “opportunities to voters

that are available to others based on age.” [Doc. 96 at 42 (emphasis added)];

see also Abbott, 961 F.3d at 409. In addition to rewriting the amendment,

allowing Plaintiffs’ claim to proceed requires a wholesale reconceptualization

of the amendment’s heretofore well-known and well-understood purpose—

extending voting rights to citizens of sufficient age to be called upon for

national military service. See generally Doc. No. [102-1, pp.11-13] (brief of

amici Public Interest Legal Foundation and Landmark Legal Foundation).

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Plaintiffs’ Twenty-Sixth Amendment claim flies directly in the face of what

the amendment both says as well as its effect.

VI.   Postage.

      It is axiomatic that, in order for a policy to impose a poll tax, it must

first impose a tax. Plaintiffs do not dispute the State Defendants’ cited

authority clarifying that a tax is something imposed by government for its

benefit. [Doc. 83-1 at 18-19.] Nor do (or can) they argue that the State

benefits from the USPS’s collection of postage. Beyond this definitional

problem, any postage-related injury is not traceable to State Defendants,

warranting dismissal of Counts I and III. See Jacobson, 957 F.3d at 1206-07.

      On Anderson-Burdick, Plaintiffs’ claim fails for at least two clear

reasons. First, they concede all voting involves incidental costs—whether

transportation to the polls, bus fare, or postage; indeed, postage may be the

cheapest of the options. Second, Plaintiffs’ claim that one-time CARES Act

money could purchase everyone a stamp says nothing about their prospective

relief and facial attack—meaning that even if CARES Act funding is

available (something Plaintiffs did not allege), the State would still need to

provide funding for stamps for all voters in future elections, including those

with stamps and the means to purchase them, which alone outweighs the

incidental burden of the USPS’s postage requirement.

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VII. The Absentee Ballot Security Statute (O.C.G.A. § 21-2-385(a)).

      Plaintiffs misrepresent that their own challenges to the Absentee

Ballot Security Statute are not facial challenges, [Doc. No. 96 at 28], but they

are: the Amended Complaint asks this Court to declare the statute itself

unconstitutional, [Doc. No. 33 at 78]. Plaintiffs must show that the statute

will always be applied in an unconstitutional manner. Wash. State Grange,

552 U.S. at 455. 6

      The Court can and should dismiss Plaintiffs’ claims regarding this

statute, which Plaintiffs challenge in Counts I (Anderson-Burdick) and VI

(First Amendment). [Doc. No. 33, ¶¶ 137, 167-72.] Both analyses apply the

same balancing test, and both weigh in the State’s (and the statute’s) favor.

      On the question of burden on voters (Count I), Plaintiffs allege only

conclusory statements regarding the purported burden the law imposes on


6 Plaintiffs’ citations to Ga. Muslim Voter Project v. Kemp, 918 F.3d 1262,
1270 (11th Cir. 2019), and Martin v. Kemp, 341 F. Supp. 3d 1326, 1337 (N.D.
Ga. 2018), which are the same cases, are unavailing. Ga. Muslim Voter
Project is not binding on the Eleventh Circuit. 11th Cir. R. 27-1(g). The
decision relied on authority involving warrantless searches, City of Los
Angeles. v. Patel, 576 U.S. 409, 418 (2015), not elections like Wash. State
Grange, which Patel cites to favorably. The Martin opinion decided that the
procedure in the challenged statute was facially inadequate. Plaintiffs make
no showing here, and Judge May did not decide that Wash. State Grange was
inapplicable; instead she applied its analysis. 341 F. Supp. 3d at 1337.



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voters themselves. [Doc. No. 96 at 33-34 (citing [Doc. No. 33, ¶¶ 73, 76-78]).]

At best, the cited paragraphs contain the type of “mere conclusory

statements” that cannot provide a basis to overcome a motion to dismiss.

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Thus, Plaintiffs cite to no

allegation sufficient to establish an unconstitutional burden on voting. This

is not a close call.

      NGP’s First Amendment claim (Count V) also fails to allege a

cognizable or meaningful burden on NGP. Plaintiffs first fail to address the

analysis in the authority cited by the State Defendants. See Knox v.

Brnovich 907 F.3d 1167 (9th Cir. 2018); Voting for Am., Inc. v. Steen, 732

F.3d 382 (5th Cir. 2013). Neither Knox nor Steen turned on the defendants’

evidence. Instead, they recognize that the physical act of collecting and

delivering a ballot expresses nothing—it is not expressive conduct protected

by the First Amendment. In addition, the law does not prevent an NGP

agent from being with a voter throughout the whole process, which shows no

limitation on speech. Other than stating the opposite in a conclusory

manner, Plaintiffs have chosen not to engage or explain their position at all.

Plaintiffs’ conclusory allegations are not presumed to be true; indeed,

precedent holds the contrary. Iqbal, 556 U.S. at 678.




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      Consequently, NGP appears to collapse its argument to one of

associational rights. [Doc. 96 at 39.] Here too, NGP cites no factual

allegation to support its claim and refers only to paragraphs in the Amended

Complaint containing conclusory and legal statements. [Id.] Even Plaintiffs’

authority, Meyer, acknowledges that while the First Amendment is

implicated when a statute “limits the number of voices” involved in political

speech, the concerns involving ballots are quite different from the petitions at

issue there. 486 U.S. at 425, 427.

      Further, on their Anderson-Burdick analysis, Plaintiffs ignore the

State’s interests and claim they do not exist. [Doc. 96 at 34.] Courts

disagree. Preventing voter fraud, maintaining voter confidence, and the

heightened protection that are afforded to ballots all outweigh Plaintiffs’

illusory burdens. See, e.g., Crawford v. Marion Cty. Election Bd., 553 U.S.

181, 194-200 (2008); Meyer v. Grant, 486 U.S. 414, 427 (1988). As

importantly, NGP concedes that its own conduct, which led to investigations

into unlawful activity of individuals affiliated with it—along with recent

voter fraud issues in other states—support upholding the Absentee Ballot

Security Statute. Here too, Plaintiffs have failed to demonstrate that the

State’s interest in upholding absentee ballot security is not sufficiently strong

to withstand their facial challenge.

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VIII. Section 208 of the Voting Rights Act of 1965.

      Plaintiffs have shown no binding precedent to support their assertion

that current Georgia law violates Section 208 of the Voting Rights Act.

Georgia law has long provided that any “physically disabled or illiterate

elector may receive assistance in preparing his or her ballot from any person

of the elector’s choice other than such elector’s employer or the agent of such

employer or an officer or agent of such elector’s union.” O.C.G.A. § 21-2-

385(b). Section 208 provides that “[a]ny voter who requires assistance to vote

by reason of blindness, disability, or inability to read or write may be given

assistance by a person of the voter's choice, other than the voter's employer or

agent of that employer or officer or agent of the voter's union.” 52 U.S.C. §

10508. Voters with disabilities or who lack the ability to read or write thus

can receive assistance from anyone of their choosing subject to the same

limits in Section 208. There is no conflict between Georgia law and Section

208. As such, the statute is not preempted, and Count VII must be

dismissed.

IX.   Conclusion.

      The Court should dismiss the Amended Complaint for the reasons

expressed in State Defendants’ briefing in support of the Motion.

      Respectfully submitted this 24th day of July, 2020.

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                    CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(D), I hereby certify that the foregoing

STATE DEFENDANTS’ REPLY BRIEF IN SUPPORT OF THEIR

MOTION TO DISMISS PLAINTIFFS’ AMENDED COMPLAINT was

prepared double-spaced in 13-point Century Schoolbook font, approved by the

Court in Local Rule 5.1(C).

                               /s/Josh Belinfante
                               Josh Belinfante
